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4
     Attorney for Defendant
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7

8                                IN THE UNITED STATES DISTRICT COURT

9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

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11
         UNITED STATES OF AMERICA,                     Case No. 2:18-CR-00058-JAM
12
                             Plaintiff,
13
                                                       STIPULATION AND ORDER FOR
14                                                     CONTINUANCE OF STATUS
         v.                                            CONFERENCE
15

16
         JOHN MICHAEL HERRON, ET AL.                   Date: September 18, 2018
17                                                     Time: 9:15 a.m.
                             Defendants.               Judge: Hon. John A. Mendez
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              IT IS HEREBY STIPULATED by and between the parties hereto through their
22
     respective counsel, Amy Schuller Hitchcock, Assistant United States Attorney, attorney for
23
     Plaintiff, Kresta N. Daly, attorney for defendant John Michael Herron, and Candice L. Fields,
24
     attorney for defendant Robert Joseph Maher, that:
25
              1.      By previous order, this matter was set for a status conference on September 18,
26
     2018, at 9:15 a.m., before Judge John A. Mendez.
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              2.      By this stipulation, defendants now move to continue the status conference until
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     1
                     STIPULATION AND [PROPOSED] ORDER FOR CONTINUANCE OF STATUS CONFERENCE
               Case 2:18-cr-00058-JAM Document 52 Filed 09/17/18 Page 2 of 3



 1 October 30, 2018, at 9:15a.m. before Judge John A. Mendez, and to exclude time between

 2 September 18, 2018, and October 30, 2018, inclusive, under Local Code T4 (to allow defense

 3 counsel time to prepare) and Local Code E (pretrial motion pending before the Court, filed

 4 September 12, 2018, to be heard on October 30, 2018; ECF No 47).

 5        3.      The parties agree and stipulate, and request that the Court find the following:
 6        a.      The government has not produced discovery associated with this case directly to
 7 counsel and/or made available for inspection and copying, due to the parties’ dispute regarding

 8 the issuance of a Protective Order that is scheduled for a hearing on October 30, 2018; ECF

 9 No. 47.)

10        b.      Counsel for defendants desire additional time to review discovery in this matter,
11 consult with their clients, review the current charges, conduct investigation and research

12 related to the charges, and to discuss potential resolutions with their clients.

13        c.      Counsel for defendants believe that failure to grant the above-requested
14 continuance would deny them the reasonable time necessary for effective preparation, taking

15 into account the exercise of due diligence.

16        d.      The government does not object to the continuance.
17        e.      Based on the above-stated findings, the ends of justice served by continuing the
18 case as requested outweigh the interest of the public and the defendant in a trial within the

19 original date prescribed by the Speedy Trial Act.

20        f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
21 et seq., within which trial must commence, the time period of September 18, 2018, to October

22 30, 2018, inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local

23 Code T4] and 18 U.S.C.§ 3161(h)(1)(D) [Local Code E] because it results from a continuance

24 granted by the Court at defendants’ request on the basis of the Court's finding that the ends of

25 justice served by taking such action outweigh the best interest of the public and the defendants

26 in a speedy trial.

27        4.      Nothing in this stipulation and order shall preclude a finding that other provisions
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                 STIPULATION AND [PROPOSED] ORDER FOR CONTINUANCE OF STATUS CONFERENCE
             Case 2:18-cr-00058-JAM Document 52 Filed 09/17/18 Page 3 of 3



1 of the Speedy Trial Act dictate that additional time periods are excludable from the period

2 within which a trial must commence.

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4                                          Respectfully submitted,
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6    Dated: September 14, 2018               MCGREGOR W. SCOTT
                                             United States Attorney
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8
                                             /s/ Amy Schuller Hitchcock
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                                             AMY SCHULLER HITCHCOCK
10
                                             Assistant United States Attorney

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12
     Dated: September 14, 2018             /s/ Candice L. Fields  ___________
13                                         CANDICE L. FIELDS
                                           Attorney for Defendant
14                                         ROBERT JOSEPH MAHER

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17 Dated: September 14, 2018               /s/ Kresta Nora Daly
                                           KRESTA NORA DALY
18                                         Attorney for Defendant
                                           JOHN MICHAEL HERRON
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     IT IS SO ORDERED:
21
     September 17, 2018
22                                             /s/ John A. Mendez__________________
                                               United States District Court Judge
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                STIPULATION AND [PROPOSED] ORDER FOR CONTINUANCE OF STATUS CONFERENCE
